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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

JENNIFER DONOVAN and
DANIEL DONOVAN;
                                                   Case No. 22-cv-00774
                      Plaintiffs,                  Hon. Hala Y. Jarbou

MIDORI PRODUCTS LLC,
KDDS ENTERPRISES LLC,
DAVID SEMAN, WILLIAM DEEDS,
RYAN RANDOLPH, RYAN COOK,
ADAM JAFFE, ANTHONY NUZZO,
EMILY HALES, and CASEY YOUNG.

              Defendants.
 HURWITZ LAW PLLC                                DINSMORE & SHOHL LLP
 Noah S. Hurwitz (P74063)                        Frank T. Mamat (P36111)
 Grant M. Vlahopoulos (P85633)                   Attorneys for Defendants
 Kara F. Krause (P85487)                         900 Wilshire Drive, Suite 300
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                        STIPULATED ORDER EXTENDING TIME
                           TO FILE RESPONSIVE PLEADING

       Defendants Midori Products, LLC, KDDS Enterprises, LLC, David Seman, William

Deeds, Ryan Randolph, Ryan Cook, Adam Jaffe, Anthony Nuzzo, Emily Hayes and Casey Young

(collectively “Defendants”) and Plaintiffs are attempting to resolve this matter by way of

settlement. Defendants’ responsive pleading must currently be filed on or before Thursday

September 15, 2022; the parties having accordingly agreed to extend Defendants’ time to file its

pleadings responsive to the Complaint from September 15, 2022 to September 28, 2022; Fed. R.
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Civ. P. 6(b)(1)(A) permits such enlargements of time; and the Court being otherwise advised in

the premises;

       IT IS HEREBY ORDERED that Defendants shall file their responsive pleading to the

Complaint on or before September 28, 2022.

       IT IS SO ORDERED.




                                                  __________________________________
                                                  U.S. District Court Judge


Approved as to Form and Substance:


/s/ Noah Hurwitz (w/ consent)                     /s/ Frank T. Mamat
Noah S. Hurwitz (P74063)                          Frank T. Mamat (P36111)
Grant M. Vlahopoulos (P85633)                     Attorneys for Defendants
Kara F. Krause (P85487)
Attorneys for Plaintiffs
